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             IN THE UNITED STATES DISTRICT COURT FOR                                  i'
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                                                                                                     r_U
                 THE EASTERN DISTRICT OF ARKANSAS
                         WESTERN DIVISION

DANIEL R. ADAMS                                                             PLAINTIFF

v.

NCEP, LLC, LORI WITHROW,                          This c;:;se assigned to District Judge            ~¥£,y
Individually and d/b/a ALLEN & WITHROW'           and                           \J_O~\tzl--'e. . . _____
                                                        to M.::Jistrate Judge,_ _
ATTORNEYS AT LAW and d/b/aLAW
01''FICES OF ALLEN & WITHROW and
John Does 1-10                                                        DEFENDANTS


                    PLAINTIFF's VERIFIED COMPLAINT


      Comes now the Plaintiff Daniel R. Adams, through his attorneys CROWDER

MCGAHA, LLP, and for his Verified Complaint against Defendants, states:

      1.      Defendants sued Plaintiff on an auto debt barred by the statute of

limitations. To support their suit, Defendants attached a doctored retail installment

contract. This violates the Fair Debt Collection Practices Act, 15 U.S.C. § 1692,

et seq.    (FDCPA),    the   Arkansas    Fair   Debt      Collection      Practices             Act,

Ark. Code Ann.§ 17-24-501, et seq. (AFDCPA) and the Arkansas Deceptive Trade

Practices Act, Ark. Code Ann.§ 4-88-101, et. seq. (ADTPA).




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                      PARTIES,JURISDICTION & VENUE

      2.      Daniel R. Adams is an individual who resides m White County,

Arkansas, a "consumer" under 15 U.S.C. § 1692a(3) and Ark. Code Ann.

§ 17-24-502(2), and a "person" under Ark. Code Ann.§ 4-88-102(6).

      3.      NCEP, LLC ("NCEP") is a Nevada Limited Liability Company,

with a principal office of 2877 Paradise Road, #303, Las Vegas, NV 89109-5239.

NCEP is a "debt collector" under 15 U.S.C. § 1692a(6) and Ark. Code Ann.

§ 17-24-502(5) and a "person" under Ark. Code Ann. § 4-88-102(6).

NCEP is licensed with the Arkansas State Board of Collection Agencies.

NCEP       can   be   served   by    process   through   its   registered   agent:

The Corporation Company, 124 West Capitol Ave., Suite 1900, Little Rock, AR

72201-3717.

      4.      Defendant Lori Withrow1 is an individual citizen and resident of

Arkansas, admitted to practice law in Arkansas, and who represents debt collectors

under 14 U.S.C. § 1692e. Ms. Withrow does business as ALLEN & WITHROW,

ATTORNEYS AT LAW and d/b/a LAW OFFICES OF ALLEN & WITHROW with her

principal place of business at 12410 Cantrell Road, Suite 100, Little Rock, AR

72223-1703.


1
       Ms. Withrow is referred to in this Complaint as "ALLEN & WITHROW."

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      5.     John Does 1-10 are persons/entities whose identity is unknown to

Plaintiff and Plaintiff's attorney who may have liability for the causes of action.

An affidavit of same from Plaintiff's attorney is attached hereto as Exhibit No. 1 and

incorporated by reference under Ark. Code Ann.§ 16-56-125(c).

      6.      The employees of NCEP or ALLEN & WITHROW, their subsidiaries,

affiliates and other related entities, were the agents, servants and employees of

NCEP or ALLEN & WITHROW, and at all times herein mentioned, each was acting

within the purpose and scope of said agency and employment. Whenever reference

in this complaint is made to any act or transaction ofNCEP or ALLEN & WITHROW,

such allegation shall be deemed to mean that the principals, officers, directors,

employees, agents and/or representatives of NCEP or ALLEN & WITHROW

committed, knew of, performed, authorized, ratified and/or directed such act or

transaction on behalf ofNCEP or ALLEN & WITHROW while actively engaged in the

scope of their duties.

      7.      This   Court    has   jurisdiction   under    28    U.S.C.    §    1331,

15 U.S.C. § 1692k(d), and 28 U.S.C. § 1367.

      8.      Venue is proper in this District and Division because the acts and

transactions occurred here, Plaintiff resides in White County, and Defendants

transact business here.



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                                           FACTS

      9.       In April 2006, Mr. Adams purchased a new 2006 Nissan Sentra with

the VIN "3NlCB51D86L544556" (the "Vehicle") from North Little Rock Nissan.

      10.      Mr. Adams financed the purchase of the Vehicle through Nissan Motor

Acceptance Corporation.

      11.      On April 27, 2006, Mr. Adams registered the Vehicle with the Arkansas

Department of Finance and Administration (DF A), Motor Vehicles Division. When

the Vehicle was registered, the DFA filed Mr. Adams's Simple Interest Retail

Installment Contract. See Exhibit No. 2, Simple Interest Retail Installment Contract.

      12.      In early 2010, Mr. Adams fell behind on his Vehicle payments. He

voluntarily surrendered the Vehicle in June 2010, and his account with Nissan Motor

Acceptance Corporation was closed. He made no further payments on the Vehicle

after he voluntarily surrendered it.

      13.      On December 15, 2015, Mr. Adams was sued by NCEP in the District

Court of Lonoke County, Arkansas. See Exhibit No. 3, NCEP v. Daniel Adams,

District Court of Lonoke County, Carlisle Division, Case No. CRCV-15-7 (the

"State Court Action.").




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      14.      The complaint in the State Court Action alleged:

               A.    NCEP was the successor in interest to Nissan Motor
                     Acceptance Corporation. See Compl. <jf 1.

               B.    Mr. Adams executed a Vehicle Retail Installment Contract
                     which was attached and incorporated as Exhibit A. See
                     Compl. <jf 3.

               C.    The Vehicle Retail Installment Contract was sold,
                     transferred and assigned to NCEP. See Compl. <If 4.

               D.    The Vehicle was repossessed and sold, and Mr. Adams
                     owed NCEP $3,966.62, as evidenced by an Affidavit of
                     Katresha Hughley, Assistant Vice President of NCEP,
                     LLC. See Compl. <!f<!f 5-6.

      15.      The "Simple Interest Retail Installment Contract," attached as Exhibit A

to the State Court Action has the Watermark" Customer Copy." See Exhibit No. 4,

Exhibit "A" to NCEP's Complaint in the State Court Action.




                                      Page 5 of12
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      16.      The Retail Installment Contracts attached to the State Court Action

and on file with the Arkansas Department of Finance and Administration have

material differences:


 Simple Interest Retail Installment Contract on file with DF A, Ex. No. 2.




Simple Interest Retail Installment attached as Exhibit A to NCEP 's State Court
Complaint, Ex. No. 4.




                                                                     ••r•


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      17.      Further, Defendants filed the State Court Action past the four-year

statute of limitations for sales contracts. See Ark. Code Ann. § 4-2-725(1)(2016).

See also Exhibit No. 5, NCEP's Responses to Defendants Requests for Admission.

      18.      Plaintiff's father is Daniel L. Adams. Defendants sent a process server

to Plaintiff's mother and father's house several times. After Defendants attempted

to serve Plaintiff at his parent's house, Plaintiff filed a motion to dismiss the State

Court Action for insufficient service of process. In his motion to dismiss, Plaintiff

explained in a sworn statement that he does not live at his parent's address.

      19.      After Plaintiff explained he did not live at his parent's address, the

Defendants again sent a process server to his parent's house. The process server

made her way inside and confronted Plaintiff's father. She told Plaintiff's father that

she was not leaving and (after Plaintiff's father threatened to call the police) she

threw a copy of the State Court Complaint and summons on the floor and stormed

out. When Plaintiff learned of this, he felt ashamed, angry and confused.

      20.      The State Court Action has also caused Plaintiff to worry about whether

his employer will learn of the case and what they might do. Plaintiff has custody of

his two minor children. The State Court Action has caused Mr. Adams to miss time

with his children.




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                                CAUSES_OF ACTION

             VIOLATIONSOFFEDERALANDSTATESTATUTES

                                   COUNT I
                          VIOLATIONS OF THE FDCPA
                             (Against All Defendants)

      21.      Plaintiff incorporates by reference all paragraphs as if fully set forth.

      22.      The foregoing acts and omissions of every Defendant constitute

numerous violations of the FDCP A including:

               A.    15 U.S.C. § 1692d: Engaging in any conduct the natural
               consequence of which is to harass, oppress, or abuse any
               person.

               B.     15 U.S.C. § 1692e: Any other false, deceptive or
               misleading representations or means in connection with debt
               collection.

               C.   15 U.S.C. §1692e(2): Mispresenting the character,
               amount, or legal status of alleged debt.

               D.     15 U.S.C. §1692(e)(5): Threatening to take any action
               that cannot legally be taken.

               E.    15 U.S.C. §I692(e)(IO): Making any                       false
               representation or deceptive means to collect a debt.

               F.     15 U.S.C. § 1692f: Any unfair or unconscionable means
               to collect or attempt to collect the alleged debt.

               G.    15 U.S.C. § 1692f(l): Attempting to collect any amount
               not authorized by the agreement creating the debt or permitted
               bylaw.



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      23.      Because of each and every Defendant's violations of the FDCP A,

Plaintiff has suffered out-of-pocket expenses and is entitled to actual damages under

15   U.S.C.     §   1692k(a)(l);    statutory   damages     up    to   $1,000.00     under

15 U.S.C. § 1692k(a)(2)(A); and, reasonable attorney's fees and costs under

15 U.S.C. § 1692k(a)(3) from each and every Defendant.

      24.      Defendants' conduct has caused Plaintiff to suffer emotional distress,

mental anguish, loss of his privacy, humiliation, anxiety, embarrassment, frustration,

injury to his credit rating and credit reputation, and lost time and expense.

                                  COUNT II
                         VIOLATIONS OF THE AFDCPA
                            (Against All Defendants)

      25.      Plaintiff incorporates by reference all paragraphs as if fully set forth.

      26.      The foregoing acts and omissions of Defendants constitute numerous

violations of the AFCP A including:

               A.    Ark. Code Ann.§ 17-24-SOS(a): Engaging in any conduct
               the natural consequence of which is to harass, oppress, or abuse
               any person.

               B.    Ark. Code Ann. § 17-24-506(a): Any other false,
               deceptive or misleading representation or means in connection
               with debt collection.

               C.    Ark. Code Ann.§ 17-24-506(b)(2): Misrepresenting the
               character, amount, or legal status of alleged debt




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             D.    Ark. Code Ann.§ 17-24-506(b)(5): Threatening to take
             any action that cannot legally be taken.

             E.    Ark. Code Ann. § 17-24-506(b)(10): Making any false
             representation or deceptive means to collect a debt.

             F.    Ark. Code Ann. § 17-24-507(a): Any unfair or
             unconscionable means to collect or attempt to collect the alleged
             debt.

             G.   Ark. Code Ann.§ 17-24-507(b)(1): Attempting to collect
             an amount not authorized by the agreement creating the debt or
             permitted by law.

      27.    Because of Defendants' violations of the AFDCPA, Plaintiff has

suffered out-of-pocket expenses and is entitled to actual damages under

Ark. Code Ann. § 17-24-512(a)(l); statutory damages up to $1,000.00 under

Ark. Code Ann. § 17-24-512(a)(2)(A); and, reasonable attorney's fees and costs

under Ark. Code Ann.§ 17-24-512(a)(3)(A) from Defendants.

      28.    Defendants' conduct has caused Plaintiff to suffer emotional distress,

mental anguish, loss of his privacy, humiliation, anxiety, embarrassment, frustration,

injury to his credit rating and credit reputation, and lost time and expense.

                                COUNT III
                        VIOLATIONS OF THE ADTPA
                            (Against NCEP only)

      29.    Plaintiff incorporates by reference all paragraphs as if fully set forth.




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      30.    The ADTP A is designed to protect consumers from deceptive, unfair

and unconscionable trade practices. The ADTP A is a remedial statute, which is

liberally construed in favor of consumers.

      31.    NCEP's practices violate the following sections of the ADTPA:

             A.    Knowingly making a false representation as to the
                   characteristics   of services. Ark.   Code   Ann.
                   § 4-88-107(a)(l).

             B.    Knowingly taking advantage of a consumer reasonably
                   unable to protect his interest because of ignorance or
                   inability to understand the language of the agreement.
                   Ark. Code Ann. § 4-88-107(a)(8).

             C.    Engaging in any unconscionable, false, and deceptive acts
                   or practices in business, commerce or trade.
                   Ark. Code Ann.§ 4-88-107(a)(10).

      32.    NCEP's conduct also violates Ark. Code Ann. §4-88-108 by

suppressing material facts, and using deception or false pretenses.

      33.    NCEP's conduct was willful and wanton and has caused Mr. Adams to

suffer actual damages and injury in an amount to be determined at trial.

                         REQUEST FOR JURY TRIAL

      34.    Mr. Adams demands a trial by a jury of twelve.




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                           PRAYER FOR RELIEF

     WHEREFORE, Mr. Adams demands judgment against the Defendants for:

     A.     Actual and compensatory damages;

     B.     Statutory damages of $1,000under15 U.S.C. § 1692k(a)(2)(A);

     C.     Reasonable attorney's fees and costs under 15 U.S.C. § 1692k(a)(3);

     D.     Such other further relief as the Court may deem just and proper.

Date: July 13, 2016                              Respectfully submitted,



                                                 ~
                                                 Ark. Bar No. 2003138
                                                 Corey D. McGaha
                                                 Ark.BarNo.2003047
                                                 CROWDER MCGAHA, LLP
                                                 5507 Ranch Drive, Suite 202
                                                 Little Rock, AR 72223
                                                 Phone: (501) 205-4026
                                                 Fax: (501) 367-8208
                                                 wcrowder@crowdermcgaha.com
                                                 cmcgaha@crowdermcgaha.com

                                                 Attorneys for Plaintiff Daniel
                                                 Adams




                                  Page 12 of12
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VERIFICATION OF COMPLAINT AND CERTIFICATION BY PLAINTIFF

ST ATE OF ARKANSAS                                  )
                                                    ) SS
COUNTY OF PULASKI                                   )

Daniel Adams, having first been duly sworn and upon oath, deposes and says as
follows:

      1.       I am the Plaintiff in this civil proceeding.
      2.       I have read the above-entitled Complaint prepared by my attorneys and
I believe that all of the facts contained in it are true, to the best of my knowledge,
information and belief formed after reasonably inquiry.
       3.      I believe that this civil Complaint is well grounded in fact and warranted
by existing law or by a good faith argument for the extension, modification, or
reversal or existing law.
       4.      I believe that this Complaint is not interposed for any improper
purpose, such as to harass any Defendant(s), cause unnecessary delay to any
Defendant(s), or create a needless increase in the cost of litigation to any
Defendant(s), named in the Complaint.
       5.      I have filed this civil Complaint in good faith and solely for the purposes
set forth in it.
       6.      I have provided my attorneys with true and correct copies of each and
every exhibit which has been attached to this Complaint.
       7.      I have not altered, changed, modified or fabricated the attached
exhibits, except some f the attached ex ibits may contain some of my own
handwritten notations.


                                                           Daniel Adams

Subscribed and sworn to before me
This J_?~_day ofJuly, 2016.

        4~,f~-
Notary Public

                      LAURIE PEP.RY
                     PULASKI COUNTY



             __
       ......_
                 NOTARY PUBLIC-ARKANSAS
             My Commission Expires March oo. 2019
                  Comm11.ion No. 12370174
                       __,.,       --,.--~
    Case 4:16-cv-00508-KGB Document 1 Filed 07/13/16 Page 14 of 37




                          EXHIBIT N0.1-

                   Affidavit ofWilliam T. Crowder




Daniel Adams v. NCE~    LL~      et al.
U.S. District Court, Eastern District of Arkansas

Plaintiff's Verified Complaint
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                   IN THE UNITED STATES DISTRICT COURT FOR
                       THE EASTERN DISTRICT OF ARKANSAS
                             LITTLE ROCK DMSION

 DANIEL ADAMS                                                                             PLAINTIFF


 v.                                   Case No. - - - - -

NCEP, LLC, LORI WITHROW, Individually and
d/b/a ALLEN & WITHROW, ATIORNEYS AT LAW
and d/b/a LAW OFFICES OF ALLEN & WITHROW and
John Does 1-10                                                                      DEFENDANTS


                                           AFFIDAVIT


       I, William T. Crowder, duly licensed attorney practicing with CROWDER MCGAHA, LLP,
being duly sworn, state upon oath:

       1.      That I am an attorney for the Plaintiff.

       2.     That the identifies of the persons or entities named as Defendants John Does 1-10
are unknown to the Plaintiff and Plaintiff's Attorney.

        3.      This Affidavit is intended to comply with the requirement of Ark. Code Ann.
§ 16-56-125(c) that an Affidavit be filed with Plaintiff's Complaint when the identity of a tortfeasor
or tortfeasors is unknown.

AFFIANT FURTHER SAITH NOT.

                                                             der, Ark. Bar. No. 2003-138

STATE OF ARKANSAS              )
                               )
COUNTY OF PULASKI  )
SUBSCRIBED AND SWORN TO before me this / 3,,M.. day ofJuly, 2016.




                                                                                    LAUR1E PERRY
                                                                                   PULASKI COUNlY
                                                                               NOTARY PUBLIC - ARKANSAS
                                                                           My Commission Expires Marcil 03, 2019
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                                            Page 1 ofl
    Case 4:16-cv-00508-KGB Document 1 Filed 07/13/16 Page 16 of 37




              Simple Interest Retail Installment Contract




Daniel Adams v. NCE~ LL~ et al.
U.S. District Court, Eastern District of Arkansas

Plaintiff's Verified Complaint
                                              Case 4:16-cv-00508-KGB Document 1 Filed 07/13/16 Page 17 of 37




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                          EXHIBIT NO. 3 ~·
                                   ..   ..
                                               ..             =-


Complaint, NCEP v. Danie/Adams, District Court of Lon~ke County, Carlisle
                    Division, Case No. CRCV-15-7
                                                                            I




Daniel Adams v. NCEP) LLC) et al.
U.S. District Court, Eastern District of Arkansas

Plaintiff's Verified Complaint
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             IN THE DISTRICT COURT OF LONOKE COUNTY, ARKANSAS
                              CARLISLE DIVISION

NCEP,LLC                                                                                       PLAINTIFF

v.                                             CASE NO.


DANIEL ADAMS                                                                                 DEFENDANT

                                             COMPLAINT

Comes the Plaintiff~ by and through counsel, and for its cause of action against the Defendant, alleges
and states:

        l.      That the Plaintiff is a financial institution authorized to do business in the state of
                Arkansas. and is the successor in interest to NISSAN.

        2.      That the Defendant is a resident of Lonoke, Arkansas, and jurisdiction and venue are
                proper in this Court.

        3.      Thal Defendant executed a Vehicle Retail Installment Contract CAgreement"). A copy
                of said Agreement is attached hereto and incorporated herein by reference as if set out
                word for word. Please see attached, Exhibit "A".

        4.      That the contract was subsequently sold, transferred and assigned to Plaintiff.

        5.      That Defendant defaulted on the Agreement by foiling to make installment payments
                when due, resulting in the repossession of said vehicle. The vehicle was subsequently
                sold.

        6.      Tiiat as a direct and proximate result of Defendant's breach of the agreement, PLaintifT
                has suffered damages in the amount of $3,966.62, as evidenced by the Affidavit of
                Account which is attached hereto.

        7.      That demand has been made for the payemnt of same, yet the balanc<:i remains upaid.

         WHEREFORE, Plaintiff prays for Judgment against Defendant in the amount of$3,966.62, for
all costs herein paid and expended, pre-judgment interest from the date received of August 21, 2014,
post-judgment interest at the contract rate, a reasonable attorney's fee, and for all other proper relief.

                                                             Allen & Withr9w
                                                             Attorneys at I/aw
                                                             P.O. Box t 7,248
                                                             Little l~ock/ A~ 72~211
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14-02712
     Case 4:16-cv-00508-KGB Document 1 Filed 07/13/16 Page 22 of 37



STATE OF            Otorgla     )                                                      Daniel Adams
                                ) SS.
COUNTY OF             Gwlnn.U)                                                               12572478
                                                                                             $3~966.62


                                    A.FFIDAVIT OF ACCOUNT

       Before me, the undersigned authority, p'ersonally appeared _ _Ka_t_re_sh_a_H_u_g__h_le_Y__,
who, being by me duly sworn, depose as follows:

1.       My full name is       Katresha Hughley

2.       As a          Assistant Vice President              , I am an authorized agent of
         NCEP, LLC, and I or a person undet• my supervision has access to the records concerning
         the account of Daniel Adams, the Defendant. I am familiar with the books and reco1·ds of
         NCEP, LLC and with the Defendat1t's account.

3.       f hereby aver that this claim is true and correct to the best of my knowledge, information ·
         and belief, and is due by the Defendant to the Plaintiff and that all just and lawful offsets,
         payments and credits to this account have been allowed.

4.       These records show that a total balance of $3,966.62, i11cluding interest acc..TUed at the rate
         of 0% after charge off unless and until pre-judgment or post judgment interest is awarded
         by the court, in accordance with the terms and conditions of the agreement, is due and
         payable by Defendant to Plaintiff, assignee of NISSAN.




Notary Public                            Miriam Torres
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                                          04/09/2017




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               Case 4:16-cv-00508-KGB Document 1 Filed 07/13/16 Page 23 of 37


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                 Case 4:16-cv-00508-KGB Document 1 Filed 07/13/16 Page 24 of 37




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                 Case 4:16-cv-00508-KGB Document 1 Filed 07/13/16 Page 25 of 37
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Case 4:16-cv-00508-KGB Document 1 Filed 07/13/16 Page 26 of 37
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                  Case 4:16-cv-00508-KGB Document 1 Filed 07/13/16 Page 28 of 37


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    Case 4:16-cv-00508-KGB Document 1 Filed 07/13/16 Page 30 of 37




                           EXHIBIT NO. 4.~
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  Exhibit ''A,, to Plaintiff> s Complaint, NCEP v. Daniel Adams, District
       Court ofLonoke County, CarlisleDivision,CaseNo. CRCV~15-7 ·




Daniel Adams v. NCEP., LL~ et al.
U.S. District Court, Eastern District of Arkansas

Plaintiff's Verified Complaint
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                     Case 4:16-cv-00508-KGB Document 1 Filed 07/13/16 Page 33 of 37




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        Case 4:16-cv-00508-KGB Document 1 Filed 07/13/16 Page 34 of 37




                             EXHIBIT NO. 5 -
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 Plaintiff, s Response to Defenant ,s ~equests for Admission, NCEP v.
  Daniel Adams, District Court of Lonoke County, CarliSle DiVision, Cfise No.
                                ··CRCV..15~7




Daniel Adams v. NCEP., LLCJ et al.
U.S. District Court, Eastern District of Arkansas

Plaintiffs Verified Complaint
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.
                  IN THE DISTRICT COURT OF LONOKE COUNTY, ARKANSAS
                                   CARLISLE DIVISION


    NCEP,LLC                                                                       PLAINTIFF



    vs.                                CASE NO.: CRCV-15-7



    DANIEL ADAMS                                                                  DEFENDA~



          PLAINTIFF'S RESPONSES TO DEFENDANT'S REOUESTS FOR ADMISSION



            COMES NOW the Plaintiff, by and through its attorneys, Allen & Withrow, and for its

    Responses to the Defendant's Requests for Admission, states as follows:



    REQUEST FOR AQMISSION NO. l; Admit Plaintiff is a debt collector.

    RESPONSE TO REQUEST FOR ADMISSION NO. 1: Admit.



    REQUEST FOR ADMISSION NO. 2: Admit that Plaintiff did not commence an action

    against Defendant within four (4) years after its cause of action accrued.

    RESPONSE TO REQUEST FOR ADMISSION NO. 2: Admit.



    REQUEST FOR ADMISSION NO. 3: Admit that Plaintiff did not commence an action

    against the Defendant within four (4) years of any partial payment or written acknowledgement

    of default.

    RESPONSE TO REQUEST FOR ADMISSION NO. 3: Admit.
       Case 4:16-cv-00508-KGB Document 1 Filed 07/13/16 Page 36 of 37




REQUEST FOR ADMISSION NO. 4:                  Admit that Plaintiff did not commence an action

against Defendant within five (5) years after its cause of action accrued.

RESPONSE TO REQUEST FOR ADMISSION NO· 4: Denied.



REQUEST FOR ADMISSION NO. 5: Admit that Plaintiff did not commence an action

against Defendant within five (5) years of any partial payment or written acknowledgement of

default.

RESPONSE TO REQUEST FOR ADMISSION NO. 5: Denied.



REQUEST FOR ADMISSION NO. 6: Admit that Defendant does not owe an unpaid total

balance of $3,996.62 to Plaintiff.

RESPONSE TO REQUEST FOR ADMISSION NO. 6: Denied.




                                              Respectfully submitted,




                                              By:~~~~~~---'"'--~~­
                                                Lori Withrow (98069)
                                                Colton Gregory (2013181)
                                                Gary J. Barrett (2000071)
                                                  Attorneys for NCEP, LLC
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                                CERTIFICATE OF SERVICE

         I, the undersigned. do hereby certify that a copy of the above and foregoing has been sent
via first-class mail on June~, 2016 to the following:

William T. Crowder
5507 Ranch Drive, Suite 202
Little Rock, AR 72223




                                                     Lori Withrow (98069)
                                                     Colton Gregory (2013181)
                                                     Gary J Barrett (2000071)
